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Dear United States District Court of the District of Massachusetts,

My Rame is Asiya. I work for the company M13, Vladislav is my supervisor. I have known him since 2017.

From the first day of our acquaintance, I saw a cheerful person, with a smile on his face, with a spark in
his eyes.

Despite his busy schedule, when communicating, he is always interested first of all in the person
themselves, how they are doing, what's new in their life, how they feel, and only after that he asks about
work issues.

Vladislav genuinely loves people, loves life. He gives bonuses to employees on the occasions of weddings
and births, he advocates organizing office parties and retreats so that people can communicate more with
each other, rejoice in achievements, discuss ideas, have fun.

In 2017 I opened a regional office. I liked an office on the outskirts of the city, but Vladislav offered to stay
in the center. I insisted. Despite the fact that I just started working at the company, Vladislav trusted me.
He is a flexible person, he respects and recognizes each of us, sees value in us. If you come to him with an
idea, he will definitely consider it.

Vladislav reads a lot and spends a lot of time on personal development. Any communication with him is
like getting a lesson from a guru. He himself never stagnates and wants everyone to develop themselves,
this genuinely pleases him. He is a disciplined person. If he promises something, he will definitely do it. I
heard colleagues at meetings asking him about how raises his children (Vladislav has many children) and
he always speaks with great warmth about his family, describes all the different traits his children have.

Two years ago some woman attacked me, when I was in Moscow on a business trip. I turned to Vlad for
help. He reacted instantly, helped me with accommodations, phoned his lawyers, asked me about my
condition. The company has a lot on its plate, but despite this, the company's lawyers for two years were
handling my case. Vladislav is not just an empathetic person. It's in his blood: he can't be a passer-by in
your life, he always has time, he's always involved in the lives of all the people around him. It seems
incredible, because he knows dozens, maybe even hundreds of people. I think he has a huge heart.

Vladislav is the heart and soul of the company. He is very sociable and friendly, he has a great sense of
humor, you can say he infects everyone with positivity and cheerfulness. Empathy, interest in people,
generosity of spirit and thoughtfulness - these are Vladislav's main personality traits.

Thank you for your interest and attention!



Asiya Rakhmatulina
